4:08-cr-03148-RGK-CRZ       Doc # 300    Filed: 11/03/09   Page 1 of 1 - Page ID # 840




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )                 4:08CR3148-8
                                         )
            V.                           )
                                         )
ANGEL M. KOSKI,                          )                     ORDER
                                         )
                   Defendant.            )

       IT IS ORDERED that the Clerk of Court shall file under seal the United States
Probation Officer’s email note and the defendant’s statement.

      DATED this 3rd day of November, 2009.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        United States District Judge
